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Prob 12B                       UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF CALIFORNIA

              PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                           WITH CONSENT OF THE OFFENDER
                             (Probation Form 49, W aiver of Hearing, is attached)

Offender Name:                    Nicholas Adam Mendoza

Docket Number:                    1:03CR05220-05 OWW

Judicial Officer:                 Honorable Oliver W. Wanger
                                  Senior United States Magistrate Judge
                                  Fresno, California

Original Sentence Date:           December 13, 2004

Original Offense:                 Counts 13, 14, 15, 16, and 17: 18 USC 1341, Mail Fraud
                                  (CLASS C FELONIES)

Original Sentence:                46 months Bureau of Prisons, 36 months TSR, $500 special
                                  assessment, $18,705,196 Restitution

Special Conditions:               1) Search and seizure; 2) Financial restrictions 3) Financial access;
                                  4) No new lines of credit; 5) Participate in drug/alcohol treatment; 6)
                                  Participate in a program of testing; 7) Aftercare co-payment.

Other Court Action:

08/19/2008:                       The Court signed a Transfer of Jurisdiction to the District of Nevada.
                                  Acceptance was denied.

Type of Supervision:              Supervised Release

Supervision Commenced:            July 13, 2007

                                     PETITIONING THE COURT

[X]           To modify the conditions of supervision as follows: Home Confinement with
              Electronic Monitoring- You shall be confined to home confinement with electronic
              monitoring, if available, for a period of 30 days. You shall pay 100% of the costs of
              electronic monitoring services.

JUSTIFICATION

On December 13, 2004, the defendant was sentenced in the Eastern District of California by the
Honorable Robert E. Coyle to 46 months custody, which was to be followed by 36 months of supervised



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release. On July 13, 2007, the defendant was released from the Bureau of Prison to supervision in the
District of Nevada.

On July 19, 2008, the defendant was involved in a single vehicle traffic accident in Las Vegas, Nevada.
The accident was witnessed by an off-duty police officer who stated that the vehicle crossed into on-
coming traffic before going into a ditch, up a dirt embankment, and striking a metal fence. After the crash,
Mendoza got out of the vehicle, looked at the damage and attempted to leave the scene. Nevada
Highway Patrol officers arrived at the scene and arrested him for Hit and Run Property, Obstructing a
Police Officer, and Failure to Maintain Travel Lane. The defendant was transported to the Las Vegas City
Jail. The Probation Office responded to the jail and had him submit a urine specimen, which was
returned positive for the use of marijuana.

The defendant maintained he did not remember anything about the traffic accident. He suffers from a
seizure disorder and believes he had a seizure while driving his vehicle. The defendant maintains he did
not use marijuana, but that he attended a party and ate brownies that may have contained marijuana.
On September 4, 2008, all charges were dropped by the Las Vegas City Attorney’s Office.

The defendant has been compliant with all other conditions of his supervision and his probation officer
discussed the offender’s choice to use marijuana and strategies to abstain from future use. In an effort
to monitor his ability to abstain from drug use, the defendant was placed in drug counseling and also on
a testing schedule.

At this time, the defendant’s probation officer is requesting the defendant be placed on home
confinement with electronic monitoring for 30 days as a sanction for this incident. The defendant has
acknowledged his willingness to modify his conditions by signing a Waiver of Hearing to Modify
Conditions of Supervised Release, which is attached for the Court’s review.




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It should be noted the Court signed a Transfer of Jurisdiction on August 19, 2008, however, the Assistant
United States Attorney in the case was opposed to the transfer so it was not executed.

                                          Respectfully submitted,


                                            Laurie E. McAnulty
                                          LAURIE E. MCANULTY
                                   Senior United States Probation Officer
                                       Telephone: (559) 499-5723



DATED:        October 8, 2008
              Fresno, California



Reviewed by:         /s/ Rick C. Louviere
                     RICK C. LOUVIERE
                     Supervising United States Probation Officer




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THE COURT ORDERS:

  X   Modification approved as recommended.

      Modification not approved at this time. Probation Officer to contact Court.

      Other:

IT IS SO ORDERED.

Dated: October 8, 2008                    /s/ Oliver W. Wanger
emm0d6                               UNITED STATES DISTRICT JUDGE




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